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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


BRYCE MARTINEZ                                    :               CIVIL ACTION
                                                  :
       v.                                         :
                                                  :               No. 25-377
                                                  :
                                                  :
                                                  :
                                                  :
KRAFT HEINZ COMPANY, INC., et al.                 :

                                ORAL ARGUMENT NOTICE

      Please be advised that Oral Argument in the above-captioned case is scheduled for
Friday, August 1, 2025, at 10:00 a.m. in the Ceremonial Courtroom, U.S. Courthouse, 601
Market Street, Philadelphia, PA 19106, before the Honorable Mia R. Perez.

       If trial counsel is on trial in a court of record prior to the time of the hearing, the Judge
and opposing counsel should be advised of this in writing at the earliest possible date and another
attorney in such trial counsel's office should appear at the hearing.

       Failure to comply with this directive may result in the imposition of sanctions.

       The hearing will be continued to another date only in exceptional cases.



Dated: April 22, 2025

                                              Very truly yours,


                                              /s/ Mia Harvey
                                              Mia Harvey
                                              Courtroom Deputy to Judge Mia R. Perez
                                              267-299-7589 (Phone)
